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                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

JON HAMILTON, et aL,
          Plaintiff,

V.                                                         No. 5:15-CV-965-JKP

ENERSAFE, iNC. f/k/a ENERSAFE LLC,
etal.,
                Defendants

ALFREDO WISE, et al.,
         Plaintiff,

V.                                                         No. 5:15-CV-973-JKP

ENERSAFE, INC., OAKS GROUP,
GRYPHON OIL FIELD SERVICES,
           Defendants

BRANDON CHAUMONT, et al.,
         Plaintiff,

                                                           No. 5:15-CV-1003-JKP

OAKS PERSONNEL SERVICES, INC.,
A/K/A OAKS GROUP; AND CIELO
ENERGY CONSULTING, LLC,
           Defendants

DAVID M. JENSEN, et al.,
           Plaintiff,

V.                                                         No. 5:17-CV-0114-JKP

EOG RESOURCES, iNC. (f/k/a ENRON
OIL AND GAS COMPANY), et al.,
           Defendants



         This matter is before the Court on the Joint Motion to Approve Settlement and Dismissal

of the   Wise Lawsuit 5:15-cv-973 (ECF No. 261) filed by Plaintiffs Alfredo Wise, Micah
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Cannady, Ronnie Armstrong, Jr., Drake Gafford, Gerald Anderson, and D.J. Helpenstill, on

behalf of themselves and all opt-in Plaintiffs in the Wise Case and Defendant Gryphon Oil Field

Services a/k/a Gryphon Holdco, LLC. By their motion, the Parties inform the Court that they

desire to compromise and settle the Wise lawsuit and ask the Court to approve their confidential

settlement agreement. The Parties submit for the Court's review a sealed copy of their Settlement

Agreement. For the reasons that follow, the Court grants the Parties' motion.

                                         I. BACKGROUND

       This lawsuit arises under the Fair Labor Standards Act ("FLSA"), 29 U.S.C.           §   201, et

seq. and consists of four consolidated   cases( 1) Hamilton v. EnerSafe, Inc.    et al., No. 5:15 -cv-

00965-JKP (the "Hamilton" lawsuit); (2) Wise v. EOG Resources, Inc. etal., No. 5-15-cv-00973-

JKP (the "Wise" lawsuit); (3) Chaumont v. EOG Resources, Inc. et al., No. 5-15-cv-01003-JKP

(the "Chaumont" lawsuit); and (4) Jensen     v.   EOG Resources, Inc., No. 5:1 7-cv-00 11 4-JKP (the

"Jensen" lawsuit). The four cases were filed as collective actions. Plaintiffs are individuals who

performed oil services work in South Texas.

       Plaintiffs in the Wise case allege that EnerSafe, Inc., TCSafety, TCSafety, Inc., and/or

EnerSafe, LLC (collectively "EnerSafe") misclassified certain individuals as independent

contractors and improperly paid them on a day rate basis with no overtime compensation in

violation of the FLSA. The Parties actively litigated the lawsuit over the past four years. The

Parties conducted written and deposition discovery. Plaintiffs extensively briefed the issue of

conditional certification and other motions. Additionally, the Parties attended mediation in an

attempt to resolve the claims.




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                                               II. ANALYSIS

A. FLSA Provisions

       The FLSA was enacted to protect all covered workers from substandard wages and

oppressive working hours. Barrentine      v.   Arkansas-Best Freight Sys., 450 U.S. 728, 739 (1981).

Congress recognized that "due to the unequal bargaining power as between employer and

employee, certain segments of the population required federal compulsory legislation to prevent

private contracts on their part which endangered national health and efficiency and as a result the

free movement of goods in interstate commerce." Brooklyn Say. Bank v.           0 'Neil, 324 U.S.   697,

706-07 (1945). The FLSA permits suit by "one or more employees for and in behalf of himself

or themselves and other employees similarly situated" to recover unpaid minimum wages,

overtime compensation, and liquidated damages from employers who violate the statute's

provisions. 29 U.S.C.   §   216(b). The provisions of the FLSA are mandatory.

       The Eleventh Circuit has held that "[t]here are only two ways in which back wage claims

arising under the FLSA can be settled or compromised by employees:" payment supervised by

the Secretary of Labor and judicial approval of a stipulated settlement after an employee has

brought a private action. Lynn 's Food Stores, Inc.       v.   United States, 679 F.2d 1350 (11th Cir.

1982). The court reasoned that these methods ensure that the same unequal bargaining power

between employers and employees that underlies the Act does not unfairly affect a private

settlement of claims for wages. Under Lynn 's Food Stores, the reviewing court must determine

that the settlement is a "fair and reasonable resolution of a bona fide dispute over FLSA

provisions." Id. at 1355.

       Not every FLSA settlement requires court approval, however, as "parties may reach

private compromises as to FLSA claims where there is a bona fide dispute as to the amount of



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hours worked or compensation due." Martin      v.   Spring Break '83 Prods., L.L.C., 688 F.3d 247,

255 (5th Cir. 2012) (quoting and adopting Martinez v. Bohis Bearing Equip. Co., 361 F. Supp.

2d 608, 631 (W.D. Tex. 2005)); see also Bodle       v. TXL   Mortg. Corp., 788 F.3d 159, 163-64 (5th

Cir. 2015). Because the parties here have requested court approval of their settlement, the Court

will analyze the settlement.

B. Bona Fide Dispute

         The primary issues in this litigation are whether Plaintiffs were misclassified and are

owed overtime compensation. Defendant denies all liability. The FLSA requires employers to

pay overtime compensation to employees who work more than forty hours in a workweek. 29

U.S.C.   §   207(a)(1). The decision of whether an employee is exempt from the FLSA's overtime

compensation provisions is primarily a question of fact; however, the ultimate decision is a

question of law. Lott v. Howard Wilson Chrysler-Plymouth, Inc., 203 F.3d 326, 330-3 1 (5th Cir.

2000). The Court concludes that there is a bona fide dispute over the FLSA's coverage in this

case.

C. Fair and Reasonable Resolution

         The settlement agreement was negotiated by able attorneys and reflects an arms-length

compromise of the disputed claims and both provides relief to Plaintiffs and eliminates the risks

all parties would bear if litigation continued. See Collins   v.   Sanderson Farms, Inc., 568 F. Supp.

2d 714, 720 (E.D. La. 2008) (explaining that in evaluating parties' FLSA settlement "the Court

must keep in mind the 'strong presumption' in favor of finding a settlement fair")

         The Parties' agreement that Plaintiffs' counsel is entitled to a total of 40% of the gross

settlement amount for fees and costs is also reasonable. See Vela         v.   City   of Houston, 276 F.3d
659, 681 (5th Cir. 2001) (acknowledging that contingency fees for class funds have ranged from



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35% to 40%); see also Matthews       v.   Priority Energy Servs., LLC, No. 6:15-CV-448, 2018 WL

1939327, at *2 (E.D. Tex. Apr. 20, 2018), report and recommendation adopted, 2018 WL

2193030 (ED. Tex. May 11, 2018) (approving 40% contingency fee in FLSA collective class

action that required nearly three years of litigation).

        In summary, the Court agrees with the Parties that their settlement agreement is a

reasonable compromise of the claims alleged by Plaintiffs in light of the procedural posture of

these cases, the risks of further litigation, and the costs applicable to both sides.

                                          III. CONCLUSION

        The Court finds that the settlement agreement is a fair and reasonable settlement of a

bona fide dispute. The Joint Motion to Approve Settlement and Dismissal of the Wise Lawsuit

(ECF No. 261) is GRANTED, the settlement is APPROVED, and Plaintiffs' claims are

DISMISSED WITH PREJUDICE. This case is CLOSED, with each party bearing its own costs

and fees except as stated in the Settlement Agreement. The Court retains jurisdiction to enforce

the Settlement Agreement.

        It is so ORDERED.

        SIGNED this 7th day of February 2020.


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                                                JASN
                                                   PULLIAM
                                                U1TED STATES DISTRICT JUDGE




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